              Case 23-04310-JMC-13                                Doc 8            Filed 10/10/23                   EOD 10/10/23 15:46:00                         Pg 1 of 32

 Fill in this information to identify your case:

 Debtor 1                   Nicholas Scott Wiegert
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Sarah Elizabeth Miller
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF INDIANA

 Case number           23-04310-JMC-7
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              15,096.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              15,096.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $              24,736.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             132,722.00


                                                                                                                                     Your total liabilities $               157,458.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                5,359.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,342.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
            Case 23-04310-JMC-13                             Doc 8   Filed 10/10/23          EOD 10/10/23 15:46:00                     Pg 2 of 32
 Debtor 1      Nicholas Scott Wiegert
 Debtor 2      Sarah Elizabeth Miller                                                     Case number (if known) 23-04310-JMC-7

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $          6,960.74


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                 0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            59,973.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             59,973.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
              Case 23-04310-JMC-13                    Doc 8           Filed 10/10/23            EOD 10/10/23 15:46:00                     Pg 3 of 32

Fill in this information to identify your case and this filing:

Debtor 1                    Nicholas Scott Wiegert
                            First Name               Middle Name                    Last Name

Debtor 2                    Sarah Elizabeth Miller
(Spouse, if filing)         First Name               Middle Name                    Last Name


United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF INDIANA

Case number           23-04310-JMC-7                                                                                                            Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:       Kia                               Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:      Sorento                              Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
          Year:       2017                                 Debtor 2 only                                          Current value of the      Current value of the
          Approximate mileage:           105,000           Debtor 1 and Debtor 2 only                             entire property?          portion you own?
          Other information:                               At least one of the debtors and another


                                                           Check if this is community property                            $10,000.00                         $0.00
                                                            (see instructions)



  3.2     Make:       Ford                              Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:      Focus                                Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
          Year:       2013                                 Debtor 2 only                                          Current value of the      Current value of the
          Approximate mileage:           195,000           Debtor 1 and Debtor 2 only                             entire property?          portion you own?
          Other information:                               At least one of the debtors and another


                                                           Check if this is community property                             $2,000.00                    $2,000.00
                                                            (see instructions)




Official Form 106A/B                                                Schedule A/B: Property                                                                    page 1
           Case 23-04310-JMC-13                           Doc 8           Filed 10/10/23                EOD 10/10/23 15:46:00                     Pg 4 of 32
Debtor 1       Nicholas Scott Wiegert
Debtor 2       Sarah Elizabeth Miller                                                                              Case number (if known)      23-04310-JMC-7

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

     No
     Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>              $2,000.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                                   Household goods and furnishings                                                                                           $1,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                                   Electronics                                                                                                               $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
      Yes. Describe.....

                                   Guitar                                                                                                                       $200.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                   Clothing                                                                                                                     $400.00




Official Form 106A/B                                                  Schedule A/B: Property                                                                      page 2
           Case 23-04310-JMC-13                                          Doc 8               Filed 10/10/23                 EOD 10/10/23 15:46:00            Pg 5 of 32
Debtor 1        Nicholas Scott Wiegert
Debtor 2        Sarah Elizabeth Miller                                                                                           Case number (if known)   23-04310-JMC-7

12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                                          Jewelry                                                                                                                          $500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                                $3,600.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                                 Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured
                                                                                                                                                            claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................

                                                                                                                                    Cash                                    $10.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                            17.1.       Checking                                JPMorgan Chase Bank                                                         $50.00



                                            17.2.       Debit                                   Cash App                                                                     $0.00



                                            17.3.       Checking                                Centra Credit Union                                                        $250.00



                                            17.4.       Savings                                 Centra Credit Union                                                          $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................        Institution or issuer name:


                                                      Robinhood account - Approximately $20                                                                                 $20.00

Official Form 106A/B                                                                     Schedule A/B: Property                                                              page 3
           Case 23-04310-JMC-13                            Doc 8        Filed 10/10/23            EOD 10/10/23 15:46:00                    Pg 6 of 32
Debtor 1        Nicholas Scott Wiegert
Debtor 2        Sarah Elizabeth Miller                                                                      Case number (if known)      23-04310-JMC-7


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
      Yes. List each account separately.
                              Type of account:                            Institution name:

                                        401(k)                            401(k)                                                                      $9,166.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 4
            Case 23-04310-JMC-13                                 Doc 8            Filed 10/10/23                    EOD 10/10/23 15:46:00                        Pg 7 of 32
Debtor 1        Nicholas Scott Wiegert
Debtor 2        Sarah Elizabeth Miller                                                                                          Case number (if known)        23-04310-JMC-7

29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
       Yes. Name the insurance company of each policy and list its value.
                                Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                 value:

                                            Insurance benefits deducted from
                                            wages                                                                                                                                $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................              $9,496.00


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

Official Form 106A/B                                                          Schedule A/B: Property                                                                              page 5
            Case 23-04310-JMC-13                                    Doc 8             Filed 10/10/23                     EOD 10/10/23 15:46:00                      Pg 8 of 32
Debtor 1         Nicholas Scott Wiegert
Debtor 2         Sarah Elizabeth Miller                                                                                                Case number (if known)   23-04310-JMC-7


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                     $0.00
56. Part 2: Total vehicles, line 5                                                                             $2,000.00
57. Part 3: Total personal and household items, line 15                                                        $3,600.00
58. Part 4: Total financial assets, line 36                                                                    $9,496.00
59. Part 5: Total business-related property, line 45                                                               $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
61. Part 7: Total other property not listed, line 54                                             +                 $0.00

62. Total personal property. Add lines 56 through 61...                                                      $15,096.00              Copy personal property total          $15,096.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                         $15,096.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                          page 6
             Case 23-04310-JMC-13                    Doc 8          Filed 10/10/23          EOD 10/10/23 15:46:00                  Pg 9 of 32

Fill in this information to identify your case:

Debtor 1                Nicholas Scott Wiegert
                        First Name                   Middle Name                Last Name

Debtor 2                Sarah Elizabeth Miller
(Spouse if, filing)     First Name                   Middle Name                Last Name


United States Bankruptcy Court for the:        SOUTHERN DISTRICT OF INDIANA

Case number           23-04310-JMC-7
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     2013 Ford Focus 195,000 miles                             $2,000.00                                      $0.00    Ind. Code § 34-55-10-2(c)(2)
     Line from Schedule A/B: 3.2
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Household goods and furnishings                           $1,500.00                                 $1,500.00     Ind. Code § 34-55-10-2(c)(2)
     Line from Schedule A/B: 6.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Electronics                                               $1,000.00                                 $1,000.00     Ind. Code § 34-55-10-2(c)(2)
     Line from Schedule A/B: 7.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Guitar                                                        $200.00                                 $200.00     Ind. Code § 34-55-10-2(c)(2)
     Line from Schedule A/B: 9.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Clothing                                                      $400.00                                 $400.00     Ind. Code § 34-55-10-2(c)(2)
     Line from Schedule A/B: 11.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit



Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
           Case 23-04310-JMC-13                     Doc 8      Filed 10/10/23            EOD 10/10/23 15:46:00                     Pg 10 of 32

Debtor 1    Nicholas Scott Wiegert
Debtor 2    Sarah Elizabeth Miller                                                             Case number (if known)     23-04310-JMC-7
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Jewelry                                                    $500.00                                   $500.00        Ind. Code § 34-55-10-2(c)(2)
    Line from Schedule A/B: 12.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Cash                                                        $10.00                                    $10.00        Ind. Code § 34-55-10-2(c)(3)
    Line from Schedule A/B: 16.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: JPMorgan Chase Bank                               $50.00                                    $50.00        Ind. Code § 34-55-10-2(c)(3)
    Line from Schedule A/B: 17.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Debit: Cash App                                               $0.00                                     $0.00       Ind. Code § 34-55-10-2(c)(3)
    Line from Schedule A/B: 17.2
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: Centra Credit Union                              $250.00                                   $250.00        Ind. Code § 34-55-10-2(c)(3)
    Line from Schedule A/B: 17.3
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Savings: Centra Credit Union                                  $0.00                                     $0.00       Ind. Code § 34-55-10-2(c)(3)
    Line from Schedule A/B: 17.4
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Robinhood account - Approximately                           $20.00                                    $20.00        Ind. Code § 34-55-10-2(c)(3)
    $20
    Line from Schedule A/B: 18.1                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    401(k): 401(k)                                          $9,166.00                                       100%        Ind. Code § 34-55-10-2(c)(6)
    Line from Schedule A/B: 21.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
             Case 23-04310-JMC-13                          Doc 8          Filed 10/10/23                  EOD 10/10/23 15:46:00                    Pg 11 of 32

Fill in this information to identify your case:

Debtor 1                   Nicholas Scott Wiegert
                           First Name                      Middle Name                      Last Name

Debtor 2                   Sarah Elizabeth Miller
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF INDIANA

Case number           23-04310-JMC-7
(if known)                                                                                                                                         Check if this is an
                                                                                                                                                   amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                             Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As     Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                    Do not deduct the      that supports this      portion
                                                                                                             value of collateral.   claim                   If any
2.1     OneMain Financial                        Describe the property that secures the claim:                     $7,067.00                $2,000.00           $5,067.00
        Creditor's Name                          2013 Ford Focus 195,000 miles

        Attn: Bankruptcy
                                                 As of the date you file, the claim is: Check all that
        PO Box 3251                              apply.
        Evansville, IN 47731                         Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
    Debtor 2 only                                     car loan)

      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)   Non-Purchase Money Security
      community debt

Date debt was incurred          3/21                      Last 4 digits of account number        4954




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                        page 1 of 2
           Case 23-04310-JMC-13                              Doc 8           Filed 10/10/23                  EOD 10/10/23 15:46:00            Pg 12 of 32

Debtor 1 Nicholas Scott Wiegert                                                                              Case number (if known)   23-04310-JMC-7
              First Name                  Middle Name                      Last Name
Debtor 2 Sarah Elizabeth Miller
              First Name                  Middle Name                      Last Name


2.2     Skillman Oldsmobile                        Describe the property that secures the claim:                    $17,669.00           $10,000.00      $7,669.00
        Creditor's Name                            2017 Kia Sorento 105,000 miles

                                                   As of the date you file, the claim is: Check all that
        8424 US 31 South                           apply.
        Indianapolis, IN 46227                          Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Lease
      community debt

Date debt was incurred          5/23                        Last 4 digits of account number         0A01


  Add the dollar value of your entries in Column A on this page. Write that number here:                                    $24,736.00
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                   $24,736.00

Part 2:     List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2
             Case 23-04310-JMC-13                          Doc 8           Filed 10/10/23                EOD 10/10/23 15:46:00                           Pg 13 of 32

Fill in this information to identify your case:

Debtor 1                   Nicholas Scott Wiegert
                           First Name                      Middle Name                       Last Name

Debtor 2                   Sarah Elizabeth Miller
(Spouse if, filing)        First Name                      Middle Name                       Last Name


United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF INDIANA

Case number            23-04310-JMC-7
(if known)                                                                                                                                               Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?

          No. Go to Part 2.
          Yes.

Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1          American Rental                                         Last 4 digits of account number                                                                     $1,000.00
             Nonpriority Creditor's Name
             1416 S Liberty Drive                                    When was the debt incurred?             2023
             Bloomington, IN 47403
             Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
                 Debtor 1 only                                           Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                 Check if this claim is for a community                  Student loans
             debt                                                       Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                         report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                     Other. Specify   Credit




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 12
                                                                                                               35458
          Case 23-04310-JMC-13                         Doc 8      Filed 10/10/23               EOD 10/10/23 15:46:00                        Pg 14 of 32
Debtor 1 Nicholas Scott Wiegert
Debtor 2 Sarah Elizabeth Miller                                                                  Case number (if known)         23-04310-JMC-7

4.2      AT&T                                                Last 4 digits of account number                                                        $2,000.00
         Nonpriority Creditor's Name
         4331 Communications Drive                           When was the debt incurred?           2021
         Dallas, TX 75211
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Fees


4.3      Countryview Estates                                 Last 4 digits of account number                                                              $0.00
         Nonpriority Creditor's Name
         1199 Hospital Road                                  When was the debt incurred?
         Franklin, IN 46131
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice


4.4      Credit Collection                                   Last 4 digits of account number       7136                                               $169.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?           7/21
         725 Canton Street
         Norwood, MA 02062
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection: Allstate Property Casualty Co




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 12
          Case 23-04310-JMC-13                         Doc 8      Filed 10/10/23               EOD 10/10/23 15:46:00                        Pg 15 of 32
Debtor 1 Nicholas Scott Wiegert
Debtor 2 Sarah Elizabeth Miller                                                                  Case number (if known)         23-04310-JMC-7

4.5      Dept of Education/Nelnet                            Last 4 digits of account number       9707                                            $43,942.00
         Nonpriority Creditor's Name
         PO Box 82561                                        When was the debt incurred?           9/16
         Lincoln, NE 68501
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Educational
4.6      Dept of Education/Nelnet                            Last 4 digits of account number       8249                                             $5,060.00
         Nonpriority Creditor's Name
         PO Box 82561                                        When was the debt incurred?           8/12
         Lincoln, NE 68501
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Educational
4.7      Dept of Education/Nelnet                            Last 4 digits of account number       1349                                             $4,413.00
         Nonpriority Creditor's Name
         PO Box 82561                                        When was the debt incurred?           9/11
         Lincoln, NE 68501
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Educational




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 12
          Case 23-04310-JMC-13                         Doc 8      Filed 10/10/23               EOD 10/10/23 15:46:00                        Pg 16 of 32
Debtor 1 Nicholas Scott Wiegert
Debtor 2 Sarah Elizabeth Miller                                                                  Case number (if known)         23-04310-JMC-7

4.8      Dept of Education/Nelnet                            Last 4 digits of account number       8349                                             $3,136.00
         Nonpriority Creditor's Name
         PO Box 82561                                        When was the debt incurred?           8/12
         Lincoln, NE 68501
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Educational
4.9      Dept of Education/Nelnet                            Last 4 digits of account number       1749                                             $2,773.00
         Nonpriority Creditor's Name
         PO Box 82561                                        When was the debt incurred?           2/12
         Lincoln, NE 68501
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Educational
4.1
0        Dept of Education/Nelnet                            Last 4 digits of account number       1449                                               $325.00
         Nonpriority Creditor's Name
         PO Box 82561                                        When was the debt incurred?           10/11
         Lincoln, NE 68501
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Educational




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 12
          Case 23-04310-JMC-13                         Doc 8      Filed 10/10/23               EOD 10/10/23 15:46:00                        Pg 17 of 32
Debtor 1 Nicholas Scott Wiegert
Debtor 2 Sarah Elizabeth Miller                                                                  Case number (if known)         23-04310-JMC-7

4.1
1        Dept of Education/Nelnet                            Last 4 digits of account number       1649                                               $324.00
         Nonpriority Creditor's Name
         PO Box 82561                                        When was the debt incurred?           2/12
         Lincoln, NE 68501
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                 Educational
4.1
2        Eagle Finance Company                               Last 4 digits of account number       8575                                             $3,424.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?           8/22
         7799 US 31 S, Ste A
         Indianapolis, IN 46227
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit


4.1
3        Easy Pay/Duvera Collections                         Last 4 digits of account number       9269                                               $907.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?           3/19
         PO Box 2549
         Carlsbad, CA 92018
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 5 of 12
          Case 23-04310-JMC-13                         Doc 8      Filed 10/10/23               EOD 10/10/23 15:46:00                        Pg 18 of 32
Debtor 1 Nicholas Scott Wiegert
Debtor 2 Sarah Elizabeth Miller                                                                  Case number (if known)         23-04310-JMC-7

4.1
4        Eehnoorn, LLC                                       Last 4 digits of account number       0506                                             $2,980.00
         Nonpriority Creditor's Name
         c/o Landman & Beatty                                When was the debt incurred?           6/09
         9100 Keystone Crossing, Suite 870
         Indianapolis, IN 46240
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Lawsuit


4.1
5        Heritage Acceptance Corp                            Last 4 digits of account number       0934                                             $6,366.00
         Nonpriority Creditor's Name
         c/o Charles Gaver                                   When was the debt incurred?           10/16
         118 S 2nd Street
         Elkhart, IN 46516
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Lawsuit


4.1
6        Interim Capital Group, Inc                          Last 4 digits of account number       2348                                               $253.00
         Nonpriority Creditor's Name
         c/o Karl Ryan                                       When was the debt incurred?           7/13
         6502 Westfield Blvd
         Indianapolis, IN 46220
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Lawsuit




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 6 of 12
          Case 23-04310-JMC-13                         Doc 8      Filed 10/10/23               EOD 10/10/23 15:46:00                        Pg 19 of 32
Debtor 1 Nicholas Scott Wiegert
Debtor 2 Sarah Elizabeth Miller                                                                  Case number (if known)         23-04310-JMC-7

4.1
7        Jefferson Capital Systems, LLC                      Last 4 digits of account number       3003                                             $4,749.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?           8/20
         16 McLeland Road
         St Cloud, MN 56303
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection: Verizon Wireless


4.1
8        Kohl's/Capital One                                  Last 4 digits of account number       4666                                               $610.00
         Nonpriority Creditor's Name
         Attn: Credit Administrator                          When was the debt incurred?           11/16
         PO Box 3043
         Milwaukee, WI 53201
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit


4.1
9        LVNV Funding/Resurgent Capital                      Last 4 digits of account number       5579                                               $878.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?           4/21
         PO Box 10497
         Greenville, SC 29603
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection: Credit One Bank NA




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 7 of 12
          Case 23-04310-JMC-13                         Doc 8      Filed 10/10/23               EOD 10/10/23 15:46:00                        Pg 20 of 32
Debtor 1 Nicholas Scott Wiegert
Debtor 2 Sarah Elizabeth Miller                                                                  Case number (if known)         23-04310-JMC-7

4.2
0        LVNV Funding/Resurgent Capital                      Last 4 digits of account number       3843                                               $212.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?           6/17
         PO Box 10497
         Greenville, SC 29603
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection: Webbank Fingerhut Freshstart


4.2
1        MDG US/Capital Community Bank                       Last 4 digits of account number       8560                                             $1,195.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?           12/19
         3422 Old Capital Trail
         Wilmington, DE 19808
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit


4.2
2        Microf                                              Last 4 digits of account number                                                       $10,000.00
         Nonpriority Creditor's Name
         2849 Paces Ferry Road, Suite 625                    When was the debt incurred?           2021
         Atlanta, GA 30339
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 8 of 12
          Case 23-04310-JMC-13                         Doc 8      Filed 10/10/23               EOD 10/10/23 15:46:00                        Pg 21 of 32
Debtor 1 Nicholas Scott Wiegert
Debtor 2 Sarah Elizabeth Miller                                                                  Case number (if known)         23-04310-JMC-7

4.2
3        Midland Funding                                     Last 4 digits of account number       6388                                               $631.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?           2/22
         PO Box 939069
         San Diego, CA 92193
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection: Comenity Bank


4.2
4        Oak Motors/Indiana Finance Co                       Last 4 digits of account number       5829                                            $10,868.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?           11/19
         PO Box 49
         Anderson, IN 46015
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Automobile


4.2
5        Portfolio Recovery Associates, LLC                  Last 4 digits of account number       1363                                               $394.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?           11/18
         120 Corporate Blvd
         Norfolk, VA 23502
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Collection: Capital One Bank USA NA




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 9 of 12
          Case 23-04310-JMC-13                         Doc 8      Filed 10/10/23               EOD 10/10/23 15:46:00                        Pg 22 of 32
Debtor 1 Nicholas Scott Wiegert
Debtor 2 Sarah Elizabeth Miller                                                                  Case number (if known)         23-04310-JMC-7

4.2
6        Receivables Management Partners                     Last 4 digits of account number       5465                                               $798.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?           12/19
         8084 Knue Rd
         Indianapolis, IN 46250
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical collection


4.2
7        Receivables Management Partners                     Last 4 digits of account number       6451                                               $798.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?           6/20
         8084 Knue Rd
         Indianapolis, IN 46250
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical collection


4.2
8        Santander Consumer USA, Inc                         Last 4 digits of account number       1000                                            $23,672.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                    When was the debt incurred?           2/20
         PO Box 961245
         Fort Worth, TX 76161
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Automobile




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 10 of 12
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Debtor 1 Nicholas Scott Wiegert
Debtor 2 Sarah Elizabeth Miller                                                                          Case number (if known)          23-04310-JMC-7

4.2
9         Synchrony Bank/Care Credit                               Last 4 digits of account number         5425                                               $108.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                         When was the debt incurred?             7/19
          PO Box 965060
          Orlando, FL 32896
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit


4.3
0         Velocity Investments, LLC                                Last 4 digits of account number         7364                                               $737.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                         When was the debt incurred?             2/21
          1800 Route 34N, Suite 305
          Wall, NJ 07719
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Collection: Genesis FS Card Services Inc

Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                      59,973.00
Total

Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 11 of 12
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Debtor 1 Nicholas Scott Wiegert
Debtor 2 Sarah Elizabeth Miller                                                                      Case number (if known)   23-04310-JMC-7

claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.      $                   0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.      $                   0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $              72,749.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $             132,722.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 12 of 12
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Fill in this information to identify your case:

Debtor 1                  Nicholas Scott Wiegert
                          First Name                         Middle Name             Last Name

Debtor 2                  Sarah Elizabeth Miller
(Spouse if, filing)       First Name                         Middle Name             Last Name


United States Bankruptcy Court for the:               SOUTHERN DISTRICT OF INDIANA

Case number           23-04310-JMC-7
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                  State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      Canterbury House Apartments                                                 Agreement for lease of residence




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
             Case 23-04310-JMC-13                               Doc 8         Filed 10/10/23        EOD 10/10/23 15:46:00           Pg 26 of 32

Fill in this information to identify your case:

Debtor 1                   Nicholas Scott Wiegert
                           First Name                           Middle Name             Last Name

Debtor 2                   Sarah Elizabeth Miller
(Spouse if, filing)        First Name                           Middle Name             Last Name


United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF INDIANA

Case number           23-04310-JMC-7
(if known)                                                                                                                          Check if this is an
                                                                                                                                    amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                          12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                                   Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                            Check all schedules that apply:


   3.1         Ashlie Wiegert                                                                              Schedule D, line
                                                                                                           Schedule E/F, line  4.24
                                                                                                           Schedule G
                                                                                                         Oak Motors/Indiana Finance Co



   3.2         Connie Gwin                                                                                 Schedule D, line
                                                                                                           Schedule E/F, line 4.28
                                                                                                           Schedule G
                                                                                                         Santander Consumer USA, Inc



   3.3         Francina Pridemore                                                                          Schedule D, line   2.2
                                                                                                           Schedule E/F, line
                                                                                                           Schedule G
                                                                                                         Skillman Oldsmobile




Official Form 106H                                                                  Schedule H: Your Codebtors                                   Page 1 of 2
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         Nicholas Scott Wiegert
Debtor 1 Sarah Elizabeth Miller                                        Case number (if known)   23-04310-JMC-7


        Additional Page to List More Codebtors
         Column 1: Your codebtor                                            Column 2: The creditor to whom you owe the debt
                                                                            Check all schedules that apply:
  3.4    Trent Miller                                                         Schedule D, line   2.1
                                                                              Schedule E/F, line
                                                                              Schedule G
                                                                            OneMain Financial




Official Form 106H                                      Schedule H: Your Codebtors                                Page 2 of 2
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Fill in this information to identify your case:

Debtor 1                      Nicholas Scott Wiegert

Debtor 2                      Sarah Elizabeth Miller
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF INDIANA

Case number               23-04310-JMC-7                                                                Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            Agent                                       General Manager
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       RCI, LLC                                    MC Investments II LLC

       Occupation may include student        Employer's address
                                                                   9998 N Michigan Road                        14327 Dove Drive
       or homemaker, if it applies.
                                                                   Carmel, IN                                  Carmel, IN

                                             How long employed there?         6 months                                  14 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         3,100.00        $          3,860.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      3,100.00               $    3,860.00




Official Form 106I                                                      Schedule I: Your Income                                                   page 1
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Debtor 1    Nicholas Scott Wiegert
Debtor 2    Sarah Elizabeth Miller                                                               Case number (if known)    23-04310-JMC-7


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      3,100.00       $         3,860.00

5.   List all payroll deductions:
     5a.     Tax, Medicare, and Social Security deductions                                5a.        $        590.00   $               810.00
     5b.     Mandatory contributions for retirement plans                                 5b.        $          0.00   $                 0.00
     5c.     Voluntary contributions for retirement plans                                 5c.        $          0.00   $                15.00
     5d.     Required repayments of retirement fund loans                                 5d.        $          0.00   $                 0.00
     5e.     Insurance                                                                    5e.        $          8.00   $               178.00
     5f.     Domestic support obligations                                                 5f.        $          0.00   $                 0.00
     5g.     Union dues                                                                   5g.        $          0.00   $                 0.00
     5h.     Other deductions. Specify:                                                   5h.+       $          0.00 + $                 0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            598.00       $        1,003.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,502.00       $        2,857.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
     8e. Social Security                                                                  8e.        $              0.00   $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              2,502.00 + $       2,857.00 = $            5,359.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $           5,359.00
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1                 Nicholas Scott Wiegert                                                            Check if this is:
                                                                                                               An amended filing
Debtor 2                 Sarah Elizabeth Miller                                                                A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF INDIANA                                               MM / DD / YYYY

Case number           23-04310-JMC-7
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                            Son                                  3                   Yes
                                                                                                                                            No
                                                                                   Son                                  4                   Yes
                                                                                                                                            No
                                                                                   Son                                  6                   Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,230.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                            40.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     Nicholas Scott Wiegert
Debtor 2     Sarah Elizabeth Miller                                                                    Case number (if known)      23-04310-JMC-7

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 150.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 220.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                800.00
8.    Childcare and children’s education costs                                                 8. $                                                800.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                180.00
10.   Personal care products and services                                                    10. $                                                 120.00
11.   Medical and dental expenses                                                            11. $                                                 150.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 400.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                 400.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  300.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  552.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       5,342.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       5,342.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               5,359.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,342.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                  17.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
             Case 23-04310-JMC-13                    Doc 8         Filed 10/10/23         EOD 10/10/23 15:46:00                 Pg 32 of 32




Fill in this information to identify your case:

Debtor 1                    Nicholas Scott Wiegert
                            First Name               Middle Name              Last Name

Debtor 2                    Sarah Elizabeth Miller
(Spouse if, filing)         First Name               Middle Name              Last Name


United States Bankruptcy Court for the:        SOUTHERN DISTRICT OF INDIANA

Case number              23-04310-JMC-7
(if known)                                                                                                                      Check if this is an
                                                                                                                                amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                    12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                        Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                          Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Nicholas Scott Wiegert                                           X   /s/ Sarah Elizabeth Miller
             Nicholas Scott Wiegert                                               Sarah Elizabeth Miller
             Signature of Debtor 1                                                Signature of Debtor 2

             Date       October 10, 2023                                          Date    October 10, 2023




Official Form 106Dec                                 Declaration About an Individual Debtor's Schedules
